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Dany f p () t | v CLERK, U.8. DISTRICT COURT
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

‘Dein! £ | “Ree Duct ly ;

* (Full name of pjaintiff in this action)

Case No.5: 07 -Cy -0007 1~ KRF

 

 

 

 

Plaintiff, (To be supplied by Court)
vs. .
Unike d sta by $ Js teal Se GE COMPLAINT UNDER
{HE CIVIL RIGHTS ACT
bon wy Sviqa th 42, U.S.C. § 1983
Kimber 4 A Her ) 3 t (NON-PRISONERS)
(Full names of ALL defendant(s) in this action. °
Do NOT use et al.)
Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. Ifyou assert jurisdiction
under any different or additional authorities, list them below.

 

 

 

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B. Parties

 

1. Plaintiff: This complaint alleges that the civil rights of l We x | Kenay Vi. re

(print your nam

y |
who presently resides at 320 9 Prige Ww tx Aaah how a4 Cae L 995% were

(mailing address)
violated by the actions of the below named individual(s). The actions were directed against Plaintiff

 

 

 

 

 

 

atlo’ne/’__o t 4 th gy ty A9v™ on the following dates: 6 «| 7-OQXE.
(place where violation occutred) (Claim 1)
and
(Claim 2 ) (Claim 3)
2. Defendants (Make a copy of this page and provide same information if you are naming more than 3 defendants):
t , . i
Defendant No. 1, Rony) i 4 Vy. iN , is a citizen of
(name) ( ;
Alas Key , and is employed as a Meiute nance Wo kyu
(state) (defendant's government position/title)

x _This defendant personally participated in causing my injury, and I want money damages.

The policy or custom of this official’s government agency violates my rights, and I seek
injunctive relief (to stop or require someone do something).

Defendant No. 2, fim bly 4A fev bs L , is a citizen of
St Lows M0 , and is employed as v + Ckwh bami ev” [bdudicator

(state) (defendant’s government position/title)

 

 

-_This defendant personally participated in causing my injury, and I want money damages.

The policy or custom of this official’s government agency violates my rights, and I seek
injunctive relief (to stop or require someone do something).

Defendant No. 3,U) 1 ‘be d state 5 fue | Sew Ci is a citizen of

(name)
, and is employed as a
(state) (defendant’s government position/title)

 

______ This defendant personally participated in causing my injury, and I want money damages.

x The policy or custom of this official’s government agency violates my nights, and I seek
injunctive relief (to stop or require someone do something).

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C. Causes of Action (You may attach additional pages alleging other causes of action and facts supporting them
ifnecessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename the claims, “ Claim 4,” “Claim 5,

etc.””).

Claim 1: The following civil right has been violated: Lr edom 2 avon Cwr |
(e.g., due process, freedom of religion, free speech, ‘freedom
aud Uy sacl Dui h wwe {

of association and/or assembly, , freedom from cruel and unusual punishment, etc. List only one civil right violation.)

 

Supporting Facts: (Briefly describe facts you consider important to Claim 1. State what happened
clearly, in your own words. DO NOT cite legal authority or argument. Be certain to describe
exactly what each defendant, by name, did to violate the right alleged in Claim 1. Include dates.)

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Claim 2: The following civil right has been violated:
(e.g., due process, freedom of religion, free speech, freedom

 

 

of association and/or assembly, freedom from cruel and unusual punishment, etc. List only one civil right violation.)

Supporting Facts: (Briefly describe facts you consider important to Claim 2. State what happened
clearly, in your own words. DO NOT cite legal authority or argument. Be certain to describe
exactly what each defendant, by name, did to violate the right alleged in Claim 2. Include dates.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Claim 3: The following civil right has been violated:

 

(e.g., due process, freedom of religion, free speech, freedom

 

of association and/or assembly, freedom from cruel and unusual punishment, etc. List only one civil right violation.)

Supporting Facts: (Briefly describe facts you consider important to Claim 3. State what happened
clearly, in your own words. DO NOT cite legal authority or argument. Be certain to describe
exactly what each defendant, by name, did to violate the right alleged in Claim 3. Include dates.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts involved

in this action? Yes K No

2. If your answer is “Yes,” describe each lawsuit. (If there is more than one lawsuit, describe the
additional lawsuits by copying this blank page and labeling it page “6A.”’”)

a. Parties to previous lawsuit:

 

Plaintiff(s):

 

Defendant(s):

 

 

b. Name and location of court:

 

 

c. Docket number:

 

-d. Name of judge to whom case was assigned:

e. Disposition:

 

(For example, was the case dismissed, appealed or still pending?)

f. Issues Raised:

 

 

 

 

g. Approximate date case was filed:

h. Approximate date of final decision:

 

E. Request for Relief

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Plaintiff requests that this Court grant the following relief:

1. An injunction ordering defendant(s)

 

 

 

 

2. Damages in the amount of $

 

3. Punitive damages in the amount of $

4, Declaratory judgment:

 

5. Attorney's fees, in the event plaintiff is or will be represented by counsel, of $

5. Other:

 

 

 

Plaintiff demands a trial by Jury Court. (Choose one.)

 

DECLARATION UNDER PENALTY OF PERJURY

_The undersigned declares under penalty of perjury that s/he is the plaintiff in
the above action, that s/he has read the above civil rights complaint and that the

luc) CO! foe in the complaint is true and correct.
2 £

Plaintiff's Original Signature .
 Vaniel hrenay wt X

Plaintiff's Full Name

Executed at on

(Location) (Date)
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Original Signature of Attorney (if any) (Date)

 

 

 

Attomey’s Address and Telephone Number

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